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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :     Case No. 21-cr-292 (RCL)
               v.                                     :
                                                      :
CHRISTOPHER WORRELL and                               :
DANIEL SCOTT,                                         :
                                                      :
                                                      :
               Defendants.                            :



                                 NOTICE OF APPEARANCE

       The United States of America, by and through its undersigned counsel, the United States

Attorney for the District of Columbia, herby informs the Court that Assistant United States

Attorney Alexis J. Loeb is entering her appearance in this matter on behalf of the United States.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                                            /s/ Alexis J. Loeb
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